Case 18-21469-tnw       Doc 17    Filed 01/16/19 Entered 01/16/19 10:33:36            Desc Main
                                  Document      Page 1 of 3


                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF KENTUCKY
                              COVINGTON DIVISION

   IN RE:

   THOMAS TAYLOR PENNIX                                        CASE NO. 18-21469
   TERESA LYNN PENNIX

   DEBTOR(S)                                                   CHAPTER 7

                         MOTION TO AVOID JUDGMENT LIENS

          Comes now the Debtors, Thomas Taylor Pennix and Teresa Lynn Pennix, by and

   through counsel and pursuant to 11 U.S.C. §522(f)(1)(A) and respectfully requests the

   Court to enter an Order avoiding the following judgment liens:


          1.   TD Bank USA, N.A in the amount of $1,052.71

          As Grounds for the avoidance of said lien the Debtors state as follows:

          1.   TD Bank, USA, N.A. As Successor In Interest To Target National Bank filed

               a lien in the amount $1,052.71 in the Boone County Clerks Records on

               October 25, 2018 in Book E162, Page 507.

          2. The above lien is a judicial liens.

          3. The Debtors own a parcel of real estate located at 1919 Georgetown Drive,

               Burlington, KY 41005 with a value of $214,000.00.

          4. The Debtors’ real estate is secured by a first mortgage to Wells Fargo in the

               amount of $206,524.12 as of the date of filing the Bankruptcy Petition.

          5. The Debtors also have a second mortgage to ICON in the amount of

               $20,000.00 as of the date of filing the Bankruptcy Petition. The Debtors have

               not claimed a homestead exemption in the real estate pursuant to 11 U.S.C.
Case 18-21469-tnw      Doc 17     Filed 01/16/19 Entered 01/16/19 10:33:36            Desc Main
                                  Document      Page 2 of 3


              §522(d)(1) as the amount of the first and second mortgages exceed the value

              of the real estate. However the Debtors are entitled to the homestead

              exemption.

          6. The above mentioned judgment liens impair the exemptions of the Debtors

              and should be avoided.



          The Debtor provides the following information:

          A. Amount of lien to be avoided                                     $1,052.71
          B. Amount of other liens                      $226,524.12
          C. Value of Claimed Exemption                  0.00
                11 U.S.C. §522(d)(1)
          D. Total of lines A,B, and C                                        $227,576.83
          E. Value of Debtor Interest in property       $214,000.00
          F. Subtract Line E from line D                                      ($13,576.83)
          G. Extent of Impairment                                             100%

          Wherefore, the Debtors move the Court to enter an order pursuant to 11 U.S.C.

   §522(f)(1)(A) to avoid the Judicial Liens of TD Bank USA, N.A.

                                                /s/ L. Craig Kendrick_______________
                                                L. Craig Kendrick
                                                Attorney for Debtor
                                                7000 Houston Road
                                                Building 300, Suite 25
                                                Florence, Kentucky 41042
                                                (859) 371-4321

                                           NOTICE

           Please take notice that unless written objection is filed within fourteen (14) days
   from the date of this notice, the Court may enter an order granting the relief requested
   without further hearing. Any objection shall be filed in writing with the United States
   Bankruptcy Clerk, P.O. Box 1111, Lexington, Kentucky 40588. Any objection filed shall
   be set for hearing before the United States Bankruptcy Court at the next available motion
   docket at 35 West 5th Street, Room 305, Covington, Kentucky. A copy of the objection
   shall be filed upon the Trustee and the United States Trustee at the address listed herein.
Case 18-21469-tnw      Doc 17       Filed 01/16/19 Entered 01/16/19 10:33:36         Desc Main
                                    Document      Page 3 of 3




                                CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on this 16th day of January, 2019, a copy of
   the foregoing was served either by regular U.S. mail, postage prepaid, or through
   electronic service, where possible, upon the following:

   U.S. Trustee
   100 East Vine Street, Suite 500
   Lexington, KY 40507
   ustpregion08.1x.ecf@usdo

   Michael L. Baker, Trustee

   TD Bank USA, N.A.
   Certified Mail
   Highest Ranking Officer
   2035 Limestone Road
   Wilmington, DE 19808

   Robert K. Hogan, Esq.
   1100 Superior Ave., 19th Floor
   Cleveland, OH 44114-2521
                                               /s/ L. Craig Kendrick
